Case 2:04-Cr-20017-BBD Document 339 Filed 05/27/05 Page 1 of 2 Page|D 694

 

 

IN THE UNITED sTATEs DISTRICT coURT Fu.:r.'.;:‘f:__ ._ _ c).c.
FoR THE wEsTERN DISTRICT oF TENNESSEE
wESTERN DIvIsIoN 95 ?1-’,£°1.,‘¥ 2? PF? 31 52
-MWVT
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UNITED s'rA-rEs oF AMERICA. R,;':§a.npius

 

Plaintiff,

vs. No. 04-20017-DV
RANDE LAZAR, M.D., d/b/a
OTOLARYNGOLOGY
CONSULTANTS OF MEMPHIS,
Defendant.

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ORDER RESETTING HEARING ON
DEFENDANT’S MOTION TO SUPPRESS ALL EVIDENCE
AND DISMISS ALL CHARGES RESULTING FROM
THE GOVERNMENT'S WARRANTLESS SEARCH ON JUNE 29, 2001

 

The hearing on Defendant's Motion to Suppress All Evidence
and Dismiss All Claims Resulting from the Government's Warrantless
Search on June 29, 2001, is hereby reset on Thursday, July 21,
2005, at 9:30 a.m. in Courtroom 5, 3rd Floor Federal Building, 167
North Main Street, Memphis, Tennessee.

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IT IS SO ORDERED this ‘£_7 day Of May, 2005-

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

with Rule 55 and/or 32(b) FRCrP on

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Thls document entered on the docket she t /c§m F§e/ /

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 339 in
case 2:04-CR-20017 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

ENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

